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 8                               UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN FRANCISCO
11

12   IN RE: CAPACITORS ANTITRUST                  Master File No. 14-CV-03264-JD
     LITIGATION
13                                                STIPULATION AND [PROPOSED]
                                                  ORDER RE: DISCOVERY LIMITS
14   THIS DOCUMENT RELATES TO:                    PURSUANT TO FED. R. CIV. P. 26(f)
15   ALL ACTIONS
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                                                           STIPULATION AND [PROPOSED] ORDER
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 1             WHEREAS Direct Purchaser Plaintiffs (“DPPs”), Indirect Purchaser Plaintiffs (“IPPs”
 2   and, together with DPPs, “Plaintiffs”), and Defendants have met and conferred pursuant to
 3   Federal Rule of Civil Procedure 26(f); and
 4             WHEREAS the parties have reached agreement on the enlargement of certain discovery
 5   limits, as set forth below;
 6             THE PARTIES HEREBY STIPULATE AS FOLLOWS:
 7   A.        Interrogatories Pursuant to Fed. R. Civ. P. 33(a)
 8             1.     DPPs and IPPs each may serve 35 interrogatories per defendant family1 named in
 9   their respective complaints. This limit does not apply to interrogatories propounded on the
10   ACPERA amnesty applicant, but Plaintiffs and the ACPERA amnesty applicant agree to negotiate
11   reasonable limitations on such interrogatories. DPPs and IPPs will coordinate efforts to avoid
12   serving duplicative and/or overly burdensome interrogatories.
13             2.     Defendants may jointly serve 25 interrogatories on each of the named DPPs and
14   IPPs. Each defendant family may serve an additional 10 interrogatories on each of the named
15   DPPs and IPPs pertaining to defendant-specific issues arising from the complaint(s) in which they
16   are named. Defendants will coordinate efforts to avoid serving duplicative and/or overly
17   burdensome interrogatories.
18             3.     These limits on interrogatories do not apply to discovery relating to personal
19   jurisdiction.
20   B.        Individual Depositions Pursuant to Fed. R. Civ. P. 30(b)(1)2
21             1.     DPPs and IPPs collectively may depose up to 10 percipient witnesses per
22   defendant family, but no more than a total of 135 percipient witnesses. For purposes of this
23   stipulation, percipient witnesses shall include defendants’ current employees, as well as former
24   employees whom defendants assist in making available for deposition. Depositions of the
25   ACPERA amnesty applicant’s percipient witnesses are not subject to the 10-deposition per
26   1
         A defendant family includes all affiliates of a named defendant.
27   2
      The limitations on Plaintiffs’ depositions in sections B and C below are without prejudice to
     Defendants’ ability to depose each of the named DPPs and IPPs pursuant to Federal Rule of Civil
28
     Procedure 30.
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 1   defendant family limit, but do count toward the total limit of 135 percipient witness depositions.
 2   Plaintiffs and the ACPERA amnesty applicant agree to negotiate reasonable limitations on
 3   percipient witness depositions. Depositions of third parties that are not part of any defendant
 4   family do not count toward the limit of 135 percipient witness depositions.
 5           2.     If any individuals have been employed by more than one defendant, they may be
 6   deposed only once. If defendants are aware of any individual noticed for deposition who has
 7   been employed by more than one defendant, and Plaintiffs have not expressed their knowledge of
 8   this fact, defendants shall make this fact known upon receipt of a deposition notice for such
 9   individual.
10           3.     Depositions conducted in English shall be limited to 7 hours each. Depositions for
11   which interpreters are used shall be limited to 12 hours each. These time limits do not apply to
12   depositions of the ACPERA amnesty applicant’s percipient witnesses, but Plaintiffs and the
13   ACPERA amnesty applicant agree to negotiate reasonable limitations on such depositions.
14   C.      Depositions Pursuant to Fed. R. Civ. P. 30(b)(6)
15           1.     DPPs and IPPs each may notice 30(b)(6) depositions on up to 15 topics, including
16   non-transactional data topics and transactional data topics, per defendant family named in their
17   respective complaints. DPPs and IPPs will coordinate efforts to avoid duplicative topics.
18           2.     30(b)(6) depositions on non-transactional data topics will be limited to a total of 14
19   hours per defendant family. 30(b)(6) depositions on transactional data topics will be limited to a
20   total of 6 hours per defendant family. These time limits will be extended for depositions in which
21   interpreters are used, by the same ratio as for percipient witness depositions (i.e., 12 hours for
22   every 7 hours, or by 1.7 times).
23           3.     The limits on 30(b)(6) depositions set forth in sections C.1 and C.2 above do not
24   apply to the ACPERA amnesty applicant, but Plaintiffs and the ACPERA amnesty applicant agree
25   to negotiate reasonable limitations on such depositions.
26           4.     In the event that any percipient witness who has received a deposition notice is
27   likely to be designated as a 30(b)(6) representative, or in the event that any 30(b)(6) designee is
28   likely to be deposed in his or her individual capacity, the parties will use their best efforts to
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 1   coordinate so as to avoid multiple depositions of the same witness. To the extent reasonably
 2   possible, defendants will (i) notify Plaintiffs at least 30 days in advance of a noticed deposition
 3   that the witness should be deposed in both his or her individual and representative capacities, and
 4   (ii) produce any responsive, non-privileged documents from the witness’s custodial files at least
 5   30 days in advance of the deposition. The parties will meet and confer in good faith regarding
 6   reasonable time limits for depositions of any witnesses who will be deposed in both their
 7   individual and representative capacities.
 8   D.      Departing Employee Lists
 9           Plaintiffs may establish “employee lists” of no more than 15 custodians/witnesses per
10   defendant family. For each such identified custodian/witness, defendants shall timely inform
11   Plaintiffs in writing if they become aware that such person intends to leave, or does leave, his or
12   her employment, to the extent reasonably possible. Upon Plaintiffs’ request, defendants shall
13   make that person available for deposition either before or after his or her departure, to the extent
14   reasonably possible. Plaintiffs may make changes to their employee lists on a quarterly basis.
15   The parties’ obligations pursuant to this provision will cease on December 31, 2015.
16   E.      Service by E-Mail
17           The parties agree that all documents may be served by e-mail and have exchanged
18   applicable e-mail addresses. Fed. R. Civ. P. 6(d) shall continue to apply, such that parties will
19   have 3 additional days to act after being served by e-mail.
20   F.      Modification of Limits
21           Any of the provisions and limits set forth in sections A through E above may be modified
22   by agreement of the parties affected or by the Court for good cause.
23

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                                                     STIPULATION AND [PROPOSED] ORDER
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25          Pursuant to Civil L. R. 5-1(e)(3), I attest that concurrence in the filing of this document

26   has been obtained from each of the other signatories above.

27   Dated: May 11, 2015                   By:     /s/ Michael F. Tubach
                                                   Michael F. Tubach
28
                                                                   STIPULATION AND [PROPOSED] ORDER
                                                    - 16 -               REGARDING DISCOVERY LIMITS
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 1   IT IS SO ORDERED.
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 3   Dated: _________________     ____________________________
                                  Honorable James Donato
 4                                United States District Court Judge
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